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                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA



DE’JUAN THOMAS                                                       CIVIL ACTION NO.

VERSUS                                                               17-1595-EWD

SALLY GRYDER, ET AL.                                                 CONSENT CASE.

                           AMENDED NOTICE TO COUNSEL
                       SETTING TRIAL AND RELATED DEADLINES

        This matter is assigned for a 4-day jury trial on September 28, 2020 at 9:00 a.m. A Final

Pretrial Conference will be held in chambers on July 22, 2020 at 10:00 a.m.

        Accordingly;

           1. An Affidavit of Settlement Efforts shall be filed by four (4) weeks before trial.
              The Affidavit shall conform to the Final Affidavit of Settlement Efforts
              Instructions for Magistrate Judge Erin Wilder-Doomes, located on the court’s
              website.

           2. A Joint Pretrial Order shall be filed fourteen (14) days prior to the Final
              Pretrial Conference. The Joint Pretrial Order shall conform to the Uniform
              Pretrial Order Notice for Magistrate Judge Erin Wilder-Doomes, located
              on the court’s website.

           3. Any Motions in Limine shall be filed seven (7) weeks prior to trial and any
              Responses thereto seven (7) days after the filing of the motion. Motions in
              Limine seeking exclusion of documentary or testimonial evidence on the
              grounds of relevance or undue prejudice (FRE 401 and 403) should not, as
              a general rule, be filed. The relevance/prejudice inquiry is best addressed in
              response to trial objections. Counsel is advised that Motions in Limine
              challenging relevance or asserting undue prejudice should be filed only if
              warranted by extraordinary circumstances.

           4. Proposed Voir Dire, Joint Jury Instructions, and a Proposed Verdict Form
              shall be filed twenty-one (21) days prior to trial.

           5. Electronic evidence files (an Electronic Bench Book) shall be provided, by
              each party, to the courtroom deputy seven days prior to trial. These files will
              be utilized BY THE COURT ONLY and will not be provided to an



 Jury
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      opposing party. The electronic evidence files should be provided using the
      specific format outlined under the courtroom technology tab on the court’s
      website. Physical bench books are no longer required for Magistrate Judge
      Erin Wilder-Doomes.

   6. A seven (7) person jury will be selected unless otherwise ordered.

   7. Courtroom 3 is a fully equipped electronic courtroom. Counsel shall contact
      the Courtroom Deputy at 225-389-3584, so that training in the use of this
      equipment can be scheduled and completed by counsel prior to
      commencement of trial.

   8. At the conclusion of trial, the parties shall retain custody of the
      physical/paper exhibits and be responsible to the Court for preserving them
      in their condition as of the time admitted until any appeal is resolved or the
      time for appeal has expired. The party retaining custody shall make such
      exhibits available to opposing counsel for use in preparation of an appeal
      and be responsible for their safe transmission to the appellate court, if
      required.

   8. Parties are directed to consult the Middle District’s Administrative
      Procedures and Local Rules which contain additional mandatory filing
      rules and procedures. The Administrative Procedures and Local Rules are
      available for viewing and download on the court’s website.

Baton Rouge, Louisiana, December 12, 2019.


                                             ERIN WILDER-DOOMES
                                             U.S. MAGISTRATE JUDGE
                                             MIDDLE DISTRICT OF LOUISIANA

                                             BY: Brandy Lemelle Route
                                                 Courtroom Deputy
